            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                       PANAMA CITY DIVISION

UNITED STATES OF AMERICA,

vs.                                          CASE NO.5:20-cr-00010-MW-MJF-3

FREDDIE KNOWLES III,

       Defendant.

                       SENTENCING MEMORANDUM

       DEFENDANT FREDDIE KNOWLES III, (hereinafter “Defendant” or “Mr.

Knowles”), by and through undersigned counsel, respectfully requests this Court

impose a reasonable sentence which is sufficient but not greater than is necessary to

comply with the goals of sentencing established in Title 18 U.S.C. § 3553(a). See,

generally, Gall v. United States, 552 U.S. 38 (2007), and Rita v. United States, 551

U.S. 38 (2007). Mr. Knowles’ case is currently scheduled for Sentencing, Thursday,

September 10,2020. The Final Presentence Investigation Report [DOC.91] was issued

on September 1, 2020. Mr. Knowles has filed no objections to the PSR calculation of

the Sentencing Guidelines range which reflect a Base Offense Level of 31 and a

Criminal History III, for a recommended range of 135 months to 168 months

(DOC.108). However, Mr. Knowles also is subject to a minimum mandatory of ten
(10) years (120 months), on Counts I, IV and V [DOC.107]. This Court has received

and granted a motion for substantial assistance from the Government.

        Freddie Knowles III is a hard working, 58-year-old man whose life has been

riddled with behavioral lapses due to a drug-abuse problem he has never overcome.

        This Court must impose a sentence which balances the need to uphold laws

which Defendant has repeatedly violated with a recommendation that treatment he

could be a changed and better man. He asks this Court to recommend or perhaps

order drug rehabilitation for him. This is his last opportunity to change the rest of his

life.

        His mother was a deeply religious and respected member of her church, St.

Dominic Catholic Church in Panama City. She died with her son, Freddie, and her

grandson, Freddie Knowles IV, in prison and unable to say goodbye, or even attend

her funeral and pay their last respects. His father’s side of the family has lived in the

West Bay Area of Panama City for 140 years. He is married to Pam and she supports

his resolve to change his life.

        This is his first federal conviction and hopefully his last conviction. He

provided timely cooperation, accepted full responsibility for his criminal actions and

always is a working man. He is seeking a sentence long enough to provide him with




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meaningful drug treatment, but short enough to give him a new start for the remainder

of his life.

        I HEREBY CERTIFY that on September 4, 2020, the foregoing Sentencing

Memorandum was electronically filed using the CM/ECF System which will send

Notice of Electronic Filing to Assistant United States Attorney Michelle K. Spaven

and there are no other ECF participants.

                                           Respectfully submitted,

                                           /s Gary Lee Printy
                                           GARY LEE PRINTY
                                           FL BAR ID NO. 363014
                                           1804 Miccosukee Commons Dr., Ste. 200
                                           Tallahassee, Florida 32308-5471
                                           Telephone: (850) 877-7299
                                           FAX: (850) 877-2211
                                           Email: attygaryprinty@gmail.com

                                           Attorney for Defendant,
                                           FREDDIE KNOWLES III

Copy furnished to:
Laura M. Laird, U.S. Probation Officer




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